Case 17-03348-KRH   Doc 1-1    Filed 05/03/17 Entered 05/03/17 22:07:11   Desc
                              Exhibit 1 Page 1 of 2


                                   Exhibit 1
 Case 17-03348-KRH      Doc 1-1    Filed 05/03/17 Entered 05/03/17 22:07:11   Desc
                                  Exhibit 1 Page 2 of 2


                                   Assigning Creditors
Aetna
B & B Printing Co., Inc.
Biovendor, LLC
Brenda Sims
Cavalier International Airfrieght, Inc.
Cigna
Cleveland Heart Lab
Cleveland HeartLab, Inc.
Deborah B Camp
Economic Development Authority of the City of Richmond
Entec Systems
Joe Shaheen
KS Dept of Commerce
Laurie JW Goetz
Medical Isotopes, Inc.
MG1 Enterprises, Inc.
Michelle N Stickland
Mobile Phlebotomy Services
Numares
Pro Football
Sun Diagnostics
The Horton Group
United Healthcare Insurance Company
Victoria J Taxter
Virginia Advance Health Services dba AnyLab Test Now
Wako Life Sciences, Inc.
